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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PAZ CARINO,                                           Case No. 22-cv-00244-SVK
                                   8                     Plaintiff,
                                                                                               ORDER TO SHOW CAUSE RE
                                   9              v.                                           SETTLEMENT
                                  10     LINCARE INC.,                                         Re: Dkt. No. 20
                                  11                     Defendant.

                                  12           Defendant reports that this case has settled. All previously-scheduled deadlines and
Northern District of California
 United States District Court




                                  13   appearances are vacated.

                                  14           By April 19, 2022, the parties shall file a stipulation of dismissal. If a dismissal is not filed by

                                  15   the specified date, then the parties shall appear on April 26, 2022 at 1:30 p.m. and show cause, if any,

                                  16   why the case should not be dismissed. Additionally, the parties shall file a statement in response to

                                  17   this Order no later than April 19, 2022, describing with specificity (1) the parties’ efforts to finalize

                                  18   settlement within the time provided, and (2) whether additional time is necessary, the reasons therefor,

                                  19   and the minimum amount of time required to finalize the settlement and file the dismissal.

                                  20           If a dismissal is filed as ordered, the Order to Show Cause hearing will be automatically

                                  21   vacated and the parties need not file a statement in response to this Order.

                                  22           SO ORDERED.

                                  23   Dated: March 24, 2022

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                                                                                                        SUSAN VAN KEULEN
                                  26                                                                    United States Magistrate Judge

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